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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     BUSINESS ARCHITECTURE GUILD,                        Case No. 23-cv-00944-KAW
                                                        Plaintiff,
                                   8
                                                                                             ORDER REASSIGNING CASE
                                                  v.
                                   9

                                  10     DANIEL LAMBERT, et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          IT IS ORDERED that this case has been reassigned using a proportionate, random and

                                  14   blind system pursuant to General Order No. 44 to the Honorable Beth Labson Freeman in the San

                                  15   Jose division for all further proceedings. Counsel are instructed that all future filings shall bear

                                  16   the initials BLF immediately after the case number.

                                  17          All hearing and trial dates presently scheduled are vacated. However, existing briefing

                                  18   schedules for motions remain unchanged. Motions must be renoticed for hearing before the judge

                                  19   to whom the case has been reassigned, but the renoticing of the hearing does not affect the prior

                                  20   briefing schedule. Other deadlines such as those for ADR compliance and discovery cutoff also

                                  21   remain unchanged.

                                  22   Dated: March 15, 2023

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                                                                                          Mark B. Busby
                                  25                                                      Clerk, United States District Court
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                                  28   A true and correct copy of this order has been served by mail upon any pro se parties.
